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                                                 U.S. Department of Justice
[Type text]
                                                      United States Attorney
nat                                                   Southern District of New York
                                                      Jacob K. Javits Federal Building
                                                      26 Federal Plaza
                                                      New York, New York 10278



                                                      November 13, 2024

BY ECF

Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. William Weiner,
               22 Cr. 19 (PGG)

Dear Judge Gardephe:

       The Government respectfully submits this letter pursuant to the Court’s order dated
November 8, 2024 (D.E. 491) directing the parties to submit a joint letter stating what the
defendant’s outstanding tax liability is, together with a proposed order of restitution.

        The parties are continuing to confer about the questions raised in the Court’s Order, and
expect to be able to supply the Court with a proposed order of restitution by Friday, November 15,
2024. Accordingly, the Government respectfully requests a brief extension of today’s deadline to
respond ot the Order.


                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney for
                                                      the Southern District of New York


                                                By:          /s/
                                                      Mathew Andrews / Qais Ghafary /
                                                      Michael D. Lockard
                                                      Assistant United States Attorneys
                                                      (212) 637-6526 / -2534 / -2193

cc: Counsel of record (by ECF)
